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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 TRUSTEES OF THE NEW YORK CITY DISTRICT
 COUNCIL OF CARPENTERS PENSION FUND,
 WELFARE    FUND,     ANNUITY    FUND,   and 19 CV _________________
 APPRENTICESHIP, JOURNEYMAN RETRAINING,
 EDUCATIONAL AND INDUSTRY FUND, TRUSTEES
 OF THE NEW YORK CITY CARPENTERS RELIEF
 AND CHARITY FUND, THE NEW YORK CITY AND
 VICINITY CARPENTERS LABOR-MANAGEMENT
 CORPORATION, and the NEW YORK CITY DISTRICT
 COUNCIL OF CARPENTERS,

                                                 Petitioners,

                          -against-

 VISTA ENGINERING CORP.,

                                                Respondent.

                      MEMORANDUM OF LAW IN SUPPORT OF
                   PETITION TO CONFIRM ARBITRATION AWARD

       Petitioners, Trustees of the New York City District Council of Carpenters Pension Fund,

Welfare Fund, Annuity Fund, and Apprenticeship, Journeyman Retraining, Educational and

Industry Fund, Trustees of the New York City Carpenters Relief and Charity Fund, the New York

City and Vicinity Carpenters Labor Management Corporation (the “Funds”), and the New York

City District Council of Carpenters (the “Union” together, with the Funds, as “Petitioners”) submit

this Memorandum of Law in support of their Petition to Confirm an Arbitration Award against

Vista Engineering Corp. (“Respondent”). As set forth herein, the arbitration award at issue was

rendered pursuant to a broad arbitration clause and applied express provisions of the applicable

collective bargaining agreement to facts adduced at a full hearing. Accordingly, the arbitration

award should be confirmed.
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                                                FACTS

          A full recitation of the facts is set forth in the Petition to Confirm an Arbitration Award

(the “Petition”), to which this Court is respectfully referred.

                                            ARGUMENT

I.        Confirmation of the Arbitration Award is Proper Because Federal Labor Policy
          Favors the Confirmation of Arbitration Awards and the Court’s Scope of Review of
          an Arbitration Award is Exceedingly Narrow

          The United States Supreme Court and the Court of Appeals for the Second Circuit hold

that arbitrations of disputes held pursuant to provisions of collective bargaining agreements

between employers and fringe benefit funds are liberally encouraged as basic to federal labor

policy.

          The fundamental principles of labor arbitration established in the Supreme Court’s

celebrated Steelworker Trilogy – United Steelworkers of America v. American Manufacturing Co.,

363 U.S. 564 (1960); United Steelworkers of America v. Warrior & Gulf Navigation Co., 363 U.S.

574 (1960); and United Steelworkers of America v. Enterprise Wheel & Car Corp., 363 U.S. 593

(1960) – have served the industrial relations community well by fostering reliance on arbitration

as the preferred method of resolving disputes arising under the terms of a collective bargaining

agreement. See AT&T Technologies, Inc. v. Communications Workers of America, 475 U.S. 643,

648 (1986) (noting that the principles derived from the Steelworker cases “have served the

industrial relations community well, and have led to continued reliance on arbitrations, rather than

strikes or lockouts, as the preferred method of resolving disputes arising during the term of a

collective-bargaining agreement”).

          To effect this important public policy, the role of a court in reviewing an arbitration award

is extremely limited. An award should be confirmed so long as the arbitrator “acted within the



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scope of his authority” and “the award draws its essence from the agreement.” Local 1199, Drug,

Hosp. & Health Care Emples. Union, RWDSU, AFL-CIO v. Brooks Drug Co., 956 F.2d 22, 25 (2d

Cir. 1992). Neither a disagreement with the arbitrator’s finding of fact, nor a difference of opinion

about the correct interpretation of the contract, is an occasion for judicial intervention. See, e.g.,

United Paperworkers Int’l Union v. Misco, Inc., 484 U.S. 29, 38 (1987) (“As long as the arbitrator

is even arguably construing or applying the contract and acting within the scope of his authority,

that a court is convinced he committed a serious error does not suffice to overturn his decision.”);

Abram Landau Real Estate v. Bevona, 123 F.3d 69, 74-75 (2d Cir. 1997) (“Even if a court is

convinced the arbitrator’s decision is incorrect, the decision should not be vacated so long as the

arbitrator did not exceed the scope of his authority.”) (citing Leed Architectural Products, Inc. v.

United Steelworkers of Am. Local 6674, 916 F.2d 63, 65 (2d Cir. 1990)). Indeed, confirmation of

an arbitration award is a “‘summary proceeding that merely makes what is already a final

arbitration award a judgment of the court.’” D.H. Blair & Co., Inc. v. Gottdiener, 462 F.3d 95,

110 (2d Cir. 2006) (quoting Florasynth, Inc. v. Pickholz, 750 F.2d 171, 176 (2d Cir. 1984)).

Accordingly, a court “must grant the award unless the award is vacated, modified, or corrected.”

Id. (internal quotations omitted).

       Here, the independent arbitrator acted within the scope of his authority in issuing the

arbitration award. As more fully set forth in the Petition, Respondent is bound by a collective

bargaining agreement (the “CBA”) with the Union. Petition, ¶¶ 9-13. The CBA requires

Respondent to remit contributions to the Funds for every hour worked by its employees within

the trade and geographical jurisdiction of the Union and to submit its books and records to an

audit by the Funds to ensure that it is making all required benefit contributions to the Funds. Id.

at ¶¶ 14-15. The CBA provides that in the event that any “dispute or disagreement arise between



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the parties hereto . . . concerning any claim arising from payments to the Fund of principal and/or

interest which is allegedly due, either party may seek arbitration of the dispute before the impartial

arbitrator . . . .” Id. at ¶ 16.

        Here, the Funds conducted an audit of Respondent’s books covering the period August

11, 2011 through September 22, 2013, which revealed that Respondent failed to remit all required

contributions to the Funds. Id. at ¶ 19. Petitioners submitted the matter to arbitration in

accordance with the CBA. Id. at ¶ 21. Thereafter, the arbitrator held a hearing and, on March 25,

2019, he rendered his award (the “Award”). Id. at ¶ 22. Consistent with the CBA, the arbitrator

ordered Respondent to pay the Funds $129,111.96, consisting of the principal deficiency of

$82,620.00, interest of $26,196.71, liquidated damages of $16,524.00, promotional funds of

$170.00, court costs of $400, attorneys’ fees of $1,500, arbitrator’s fee of $500, and audit costs

of $1,201.25. Id. at ¶ 23. The arbitrator also found that interest of 7.5% will accrue on the Award

from the date of the issuance of the Award. Id. at ¶ 24.

        As is evident by the foregoing facts, the arbitrator acted within the scope of his authority

in issuing the arbitration award, which is consistent with the CBA’s provisions. Furthermore, the

award has not been vacated, modified, or corrected. Id. at ¶ 26. Therefore, the Court should defer

to the arbitrator and confirm the arbitration award.

II.     The Court Should Award Petitioners Attorneys’ Fees and Costs

        A.       Petitioners are Entitled to Attorneys’ Fees and Costs

        Under the CBA, Petitioners are entitled to an award of attorneys’ fees in connection with

this action to recover delinquent Fund contributions by Respondent. The CBA provides that:

        In the event that formal proceedings are instituted before a court of competent
        jurisdiction by the trustees of a Benefit Fund or Funds to collect delinquent
        contributions to such Fund(s), and if such court renders a judgment in favor of such
        Fund(s), the Employer shall pay to such Fund(s), in accordance with the judgment


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        of the court, and in lieu of any other liquidated damages, costs, attorney's fees
        and/or interest, the following:

                                           •       •       •

                (d) reasonable attorney's fees and costs of the action.

Id. at ¶ 18.

        Moreover, it is well established that courts routinely award costs to the prevailing

petitioners in actions to confirm an arbitration award. See, e.g., Abondolo v. Jerry WWHS Co.,

829 F. Supp. 2d 120, 123 (E.D.N.Y. 2011) (noting that this practice “is consistent with the general

principle that, in most civil suits, ‘costs—other than attorney’s fees—should be allowed to the

prevailing party.’”) (quoting Fed. R. Civ. P. 54(d)(1)). It is equally well established that “when a

party fails to abide by an arbitrator’s determination without justification . . . attorney’s fees may

be awarded.” Dist. Council No. 9 v. All Phase Mirror & Glass, 2006 U.S. Dist. LEXIS 34836, at

*4 (S.D.N.Y. May 26, 2006) (citing Bell Prod. Engineers Ass’n v. Bell Helicopter Textron, 688

F.2d 997, 999 (5th Cir. 1982)); see also Trs. of the N.Y. City Dist. Council of Carpenters Pension

Fund v. Dejil Sys., 2012 U.S. Dist. LEXIS 123143, at *11 (S.D.N.Y. Aug. 29, 2012) (“In

confirmation proceedings, ‘the guiding principle has been stated as follows: when a challenger

refuses to abide by an arbitrator’s decision without justification, attorney’s fees and costs may

properly be awarded.’”) (quoting N.Y. City Dist. Council of Carpenters Pension Fund v. Angel

Constr. Grp., LLC, 2009 U.S. Dist. LEXIS 7701, at *2 (S.D.N.Y. Feb. 3, 2009)).

         In light of the above-established facts, there is no justification for Respondent’s failure to

abide by the arbitration award. As such, should the Court confirm the award, Petitioners request

costs and attorneys’ fees in the amounts set forth below.




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       B.      Petitioners Seek a Reasonable Amount of Attorneys’ Fees and Costs

       Petitioners’ requested fees and costs are reasonable. Courts recognize that “[t]he most

useful starting point for determining the amount of a reasonable fee is the number of hours

reasonably expended on the litigation multiplied by a reasonable hourly rate.” Hensley v.

Eckerhart, 461 U.S. 424, 433 (1983). It is well-established that “the lodestar – the product of a

reasonable hourly rate and the reasonable number of hours required by the case – creates a

‘presumptively reasonable fee.’” Millea v. Metro-North R. Co., 658 F.3d 154, 166 (2d Cir. 2011)

(citing Perdue v. Kenny A. ex rel. Winn, 130 S. Ct. 1662, 1673 (2010)). The Second Circuit has

explained that “[t]he actual billing arrangement certainly provides a strong indication of what

private parties believe is the ‘reasonable’ fee to be awarded.” Crescent Publ'g Group, Inc. v.

Playboy Enters., 246 F.3d 142, 151 (2d Cir. 2001).

       In this case, counsel for Petitioners billed the Funds for the services of partners at a rate of

$300 per hour, associate attorneys at a rate of $225 per hour, and for the services of legal assistants

at a rate of $100 per hour. Petition, ¶¶ 30-32. These rates were negotiated with a Board of Trustees

consisting of members with long business and negotiation experience and, as such, should be

viewed as rates that a reasonable client would pay. Id. at ¶ 33. Courts in the Southern and Eastern

District of New York have routinely approved hourly rates in these ranges for Virginia &

Ambinder, LLP (“V&A”)’s attorneys and legal assistants. See, e.g., Empire State Carpenters

Welfare, Annuity & Apprenticeship Training Funds v. Conway Constr. of Ithaca Inc., 2015 U.S.

Dist. LEXIS 122277, at *57 (E.D.N.Y. Aug. 11, 2015) (approving rates of $250-$300 for V&A’s

senior associates, $225 for its junior associates, and $100 for its legal assistants); Trs. of the N.Y.

City Dist. Council of Carpenters Pension Fund v. Metro Fine Mill Work Corp., 2015 U.S. Dist.

LEXIS 62226, at *11 (S.D.N.Y. May 12, 2015) (approving rates of $225 for V&A’s associates



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and $100 for its legal assistants); In re Trs. of Empire State Carpenters Annuity, Apprenticeship,

Labor Mgmt. Cooperation, Pension & Welfare Funds, 2015 U.S. Dist. LEXIS 27093, at *25

(E.D.N.Y. Feb. 27, 2015) (approving rates $225 for V&A’s associates and $100 for its legal

assistants); Trs. of the Plumbers Local Union No. 1 Welfare Fund v. Temperini Mech., Inc., 2014

U.S. Dist. LEXIS 132031, at *1 (E.D.N.Y. Sept. 19, 2014) (approving rates of $200-$250 for

V&A’s associates and $90 for its legal assistants); Trs. of the N.Y. City Dist. Council of Carpenters

Pension Fund v. Alliance Workroom Corp., 2013 U.S. Dist. LEXIS 174100, *22 (S.D.N.Y. Dec.

10, 2013) (approving rates of $200 for V&A’s associates and $90 for its legal assistants); Trs. of

the N.Y. City Dist. Council of Carpenters Pension Fund v. Mountaintop Cabinet Mfr. Corp., 2012

U.S. Dist. LEXIS 123119, *16 (S.D.N.Y. Aug. 29, 2012) (approving rates of $200 for V&A’s

associates and $90 for its legal assistants).

        As Petitioners’ attorneys spent a total of 4.0 hours on this case, Petitioners should be

awarded $1,100.00 in attorneys’ fees. Petition ¶ 34. Petitioners also request a reasonable amount

of costs and seek the recovery for $400 in court fees incurred in this action. See id. at ¶ 35; see

also Abondolo, 829 F. Supp. 2d at 123.

III.    Petitioners are Entitled to Post-Judgment Interest on the Arbitration Award

        Under 28 U.S.C. § 1961, Petitioners are entitled to post-judgment interest on the full

judgment amount “from the date of the entry of the judgment, at a rate equal to the weekly average

1-year constant maturity Treasury yield, as published by the Board of Governors of the Federal

Reserve System, for the calendar week preceding the date of judgment.” 28 U.S.C. § 1961(a). As

recognized by the Second Circuit, “[t]he award of post-judgment interest is mandatory on awards

in civil cases as of the date judgment is entered.” Lewis v. Whelan, 99 F.3d 542, 545 (2d Cir. 1996)




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(citing 28 U.S.C. § 1961(a)). Accordingly, Petitioners also request that the Court award Petitioners

post-judgment interest in accordance with 28 U.S.C. § 1961’s provisions.

                                         CONCLUSION

       For the reasons and upon the authority set forth above and in the Petition, the arbitration

award should be confirmed and judgment should be entered in favor of the Petitioners and against

Respondent in accordance with the Proposed Judgment attached to the instant Petition.

Dated: New York, New York                            Respectfully submitted,
       June 5, 2019
                                                     VIRGINIA & AMBINDER, LLP


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